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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

RGN-US IP, LLC and Regus Management               §
Group, LLC                                        §
                                                    Civil Action No.
                                                  §
                      Plaintiffs,                 §
                                                  §
                                                    JURY TRIAL DEMANDED
       v.                                         §
                                                  §
WeWork Companies Inc.,                            §
                                                  §
                      Defendant.                  §

                                    ORIGINAL COMPLAINT

       RGN-US IP, LLC (“RGN”) and Regus Management Group, LLC (“Regus

Management”) (collectively “Plaintiffs”) bring this action against WeWork Companies Inc.

(“Defendant” or “WeWork”) and allege as follows:

                            I.      PRELIMINARY STATEMENT

       1.      This is an action for infringement of RGN’s well-known mark, including its

incontestable federally-registered trademark “HQ” (the “HQ Mark”) under Section 32(1) of the

Lanham Act, 15 U.S.C. § 1114(1), for unfair competition and false designation of origin under

Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a), for substantial and related claims of

trademark infringement under the statutory and common laws of the State of Texas, and for

tortious interference with Regus Management’s business relations, all arising from the

Defendant’s unauthorized use of the HQ Mark in connection with the marketing, advertising,

promotion, offering for sale and/or sale of Defendant’s office space rentals and associated

services.

       2.      Plaintiffs seek injunctive and monetary relief.




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                              II.    JURISDICTION AND VENUE

       3.      This Court has jurisdiction of these claims under the provisions of 28 U.S.C. §§

1331 and 1338 in that Plaintiff RGN’s claims arise under the Lanham Trademark Act, 15 U.S.C.

§ 1051, et seq., and present a federal question involving unfair competition and trademarks. This

Court has jurisdiction over the state law and common law claims of the Plaintiffs in this action

under 28 U.S.C. §1367(a) because the state law and common law claims are so related to the

federal claims that they form part of the same case or controversy and derive from a common

nucleus of operative facts.

       4.      Defendant WeWork transacts business within Texas and in this judicial district

by, inter alia, managing multiple office space rentals in Texas and this district, advertising in

Texas and this judicial district, marketing in Texas and this judicial district, soliciting consumers

from Texas and this judicial district, serving consumers from Texas and this judicial district,

and/or otherwise doing business in Texas and in this judicial district. Defendant WeWork

currently has two locations in this division with a third soon to open.

       5.      Defendant has further transacted and/or transacts business within Texas and in

this judicial district by, inter alia, providing a website for its goods/services and therein offering

and providing its goods/services nationwide, including in Texas and this judicial district, and

specifically targeting consumers and prospective clients from Texas and this judicial district.

Specifically, WeWork’s website markets two locations of rental office space in this division: one

in Uptown Dallas, and one in Thanksgiving Tower in Downtown Dallas. The website also notes

that a third location is planned for Victory Plaza.

       6.      Through, inter alia, the use of a confusingly similar trademark to the HQ Mark,

Defendant’s tortious activity has been specifically targeted at RGN and Regus Management and




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their businesses in Texas and this judicial district, and Defendant has intentionally attempted to

cause confusion with Plaintiffs or create a false association with Plaintiffs in Texas and this

judicial district, in a willful attempt to damage Plaintiffs and their businesses in Texas and this

judicial district, and misappropriate Plaintiffs’ clients and consumers in Texas and this judicial

district.

        7.     Personal jurisdiction exists over Defendant WeWork because it conducts business

through its thirteen offices located in Texas, two of which are located in this division, or

otherwise avails itself of the privileges and protections of the laws of Texas and this district such

that it does not offend traditional notions of fair play and due process to subject Defendant to the

jurisdiction herein.

        8.     Defendant also is subject to personal jurisdiction in this District because

Defendant’s specific and intentional tortious conduct complained of herein has and is specifically

targeted to Texas, with the purpose of interfering with Plaintiffs’ businesses and sales originating

in Texas, and has purposely inflicted commercial and reputational harm to Plaintiffs in Texas.

        9.     Venue is proper in this District under, inter alia, the provisions of 28 U.S.C. §

1391, because, upon information and belief, a substantial part of the events giving rise to this

complaint occurred in this district.

                                         III.    PARTIES

        10.    Plaintiff RGN-US IP, LLC is a Delaware limited liability corporation, and has its

principal place of business at 15305 Dallas Parkway, Suite 400, Addison, Texas 75001.

        11.    Plaintiff Regus Management Group, LLC is a Delaware limited liability

corporation, and has its principal place of business at 15305 Dallas Parkway, Suite 400, Addison,

Texas 75001.




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       12.     Defendant WeWork is a Delaware corporation, and has its principal place of

business at 115 West 18th Street, 2nd Floor, New York, NY 10011. Defendant’s registered

agent for service of process is Corporation Service Company d/b/a CSC - Lawyer’s

Incorporating Service Company, which is located at 211 E. 7th Street, Suite 620, Austin, Texas

78701-3218.

                             IV.     FACTUAL BACKGROUND

A.     WeWork’s Tactics of Competition with IWG

       13.     RGN and Regus Management, along with their ultimate parent company IWG Plc

and its affiliates (collectively, “IWG”), are the world’s largest provider of outsourced workplaces

for companies of any size. IWG has over 3,000 business centers in 120 countries. WeWork,

which directly competes with IWG in the office space rental industry, has recently been

employing a number of strategies to encroach upon IWG’s clientele and industry position. Upon

information and belief, WeWork recently raised billions of dollars of venture capital funds, and

has been using that cash inflow to poach customers from rival office space rental companies.

Upon information and belief, WeWork has been offering commercial real estate brokers a 100

percent commission upon a first year of rent if the broker can entice a customer to switch their

office space rentals from a competitor (like IWG) to WeWork. Furthermore, upon information

and belief, WeWork has been cold-calling tenants that rent office space from IWG and has

offered them a 50-percent discount on their first year’s rent if they switch to WeWork.

       14.     WeWork has recently announced a new product called HQ by WeWork aimed at

medium-sized companies that are consumers of office space rentals. Upon information and

belief, this program is also aimed at enticing rental space customers away from IWG. Indeed,




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the term “HQ” is a long held trademark of RGN and is associated with Plaintiffs’ products in the

marketplace.

B.     RGN and its HQ Mark

       15.     In 2004, global workspace provider IWG acquired HQ Global Workplaces, along

with the registered trademark owner of record, HQ Network Systems, LLC (“HQ Network”), at

which time the HQ Mark was already well known in the office space rental industry. The HQ

Mark was subsequently assigned to RGN and is licensed to Regus Management.

       16.     The HQ Mark and various versions of the mark have been used by HQ Network

and its predecessors, RGN, and Regus Management in interstate commerce continuously since at

least February, 1977 in connection with its rental of executive office space and associated

services. Currently, Regus Management advertises its “HQ Global Workplaces” brand, featuring

the well-established HQ Mark, as offering companies the ability to rent business-ready offices,

meeting rooms, and virtual offices.

       17.     On September 23, 1988, HQ Network applied for federal protection of the HQ

Mark with the United States Patent and Trademark Office (“USPTO”), and subsequently U.S.

Trademark U.S. Registration No. 1,586,038 was issued on March 6, 1990.

       18.     On May 31, 2014, HQ Network assigned its registered trademark No. 1,586,038

to RGN.

       19.     On May 31, 2014, RGN entered into a nonexclusive license agreement with

Regus Management granting it the right to use the HQ Mark.

       20.     RGN’s registered HQ Mark has been used in various iterations in commerce,

including the standard characters “HQ” and the letters “HQ” next to a globe, which have been in




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use in interstate commerce since January 1980 and are currently pending federal trademark

recognition, pursuant to Trademark Applications 88072146 and 88072244, respectively.

       21.     U.S. Trademark U.S. Registration No. 1,586,038 for the HQ Mark is valid and

subsisting, has not been cancelled, and constitutes prima facie evidence of the validity of the HQ

Mark. A true and correct copy of the registration certificate is attached hereto and incorporated

herein as Exhibit A.

       22.     The agreement assigning the HQ Mark to RGN constitutes prima facie evidence

of RGN’s ownership of the HQ Mark.

       23.     The agreement in which RGN has granted Regus Management a license to use the

HQ Mark constitutes prima facie evidence of Regus Management’s right to use the HQ Mark in

commerce.

       24.     By virtue of HQ Network’s federal registration, Defendant has been at least on

constructive notice of the HQ Mark since the filing of U.S. Trademark U.S. Registration No.

1,586,038 in 1988.

       25.     U.S. Trademark U.S. Registration No. 1,586,038 has become incontestable

pursuant to 15 U.S.C. § 1065.

       26.     The registered domain name www.hq.com, prominently features the HQ Mark,

and through this website, Plaintiffs have built a substantial web presence for the HQ Mark.

       27.     Because of Plaintiffs’ substantial expenditures on advertising, the HQ Mark

enjoys widespread recognition in the United States and worldwide, and is associated in the minds

of the general consuming public of related services with rentals of executive office spaces and

associated services.




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       28.     As a result of its distinctiveness and widespread use and promotion throughout the

United States, the HQ Mark is a famous trademark within Texas and the United States, and

became famous prior to the acts of the Defendant alleged herein.

       29.     Plaintiffs have expended extensive time and resources over the last thirty-eight

plus years in advertising, promoting, and developing the HQ Mark, through extensive advertising

and promotion of its goods and services throughout the United States including in this judicial

district. As a result of such advertising and expenditures, the relevant public has come to

identify all such goods and services offered under the HQ Mark as coming from Plaintiffs alone.

The goodwill and reputation associated with Plaintiffs in connection with the well-known HQ

Mark is of significant monetary value to Plaintiffs.

C.     Defendant’s Unlawful Activities

       30.     Upon information and belief, Defendant WeWork is engaged in providing office

space rentals in the cities of Dallas, TX, Fort Worth, TX, Plano TX, Austin, TX, and Houston,

TX.

       31.     Without Plaintiffs’ authorization, and upon information and belief, beginning

after Plaintiffs acquired protectable exclusive rights in the HQ Mark, Defendant adopted and

began using a confusingly similar name and mark “HQ by WeWork” for similar or nearly

identical goods and services as those identified with the HQ Mark, within Texas, this judicial

district, and elsewhere. Upon information and belief, Defendant has registered the domain name

www.wework.com, and a screenshot of Defendant’s website showing its infringing use is

attached hereto and incorporated herein as Exhibit B.

       32.     Defendant has engaged in advertising, marketing, promoting, offering for sale,

and selling office rental services using the HQ Mark and name in commerce throughout the

United States. Upon information and belief, on August 8, 2018, Defendant began advertising


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office rental services on its website as “HQ by WeWork.” See Exhibit B. Upon information and

belief, Defendant has advertised this as a flexible workspace offering targeted at medium-sized

businesses looking to rent private and personalized office space.

       33.     Upon information and belief, Defendant also extensively uses social media,

including Twitter to interact and communicate with consumers and potential consumers across

the nation. A screenshot of Defendant’s Twitter feed showing its infringing use is attached

hereto and incorporated herein as Exhibit C.

       34.     Defendant’s infringing use of the confusingly similar name and mark HQ by

WeWork for similar or nearly identical goods and services of Plaintiffs has been targeted at

Plaintiffs and their businesses in Texas; has been with at least constructive knowledge of

Plaintiffs’ use of the HQ Mark, their goods, and services and their businesses in Texas; and has

damaged Plaintiffs, their businesses, and their goodwill in Texas.

       35.     Defendant’s goods and services are marketed, offered and/or provided, including

through its website, and social media, in the same, overlapping or close geographic locations

wherein Plaintiffs’ goods and services are marketed, offered and/or provided to the same

prospective customers, consumers, industry personnel and decision makers who would consume

and/or use Plaintiffs’ and Defendant’s respective goods and services, including by Defendant in

Texas and this judicial district. Thus, it is likely that these consumers and decision makers will

be confused, deceived and/or mistaken as to the origin of these goods and services or affiliation

between the parties hereto.

       36.     The use by Defendant of the name and mark HQ, including without limitation as

part of the mark HQ by WeWork, for similar or nearly identical goods and services as the HQ

Mark diverts web traffic and constitutes a misappropriation of RGN’s goodwill. Defendant’s




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infringing use further dilutes the distinctiveness of and damages RGN’s well-known name and

mark, and is likely to confuse or deceive customers, consumers, industry personnel and the

general public as to the source of Defendant’s goods and services, and/or as to the sponsorship,

affiliation and/or connection with Plaintiffs and/or their good and services, and, has and will

continue to create the impression that Plaintiffs are responsible for the quality of the services

offered or provided by Defendant when Plaintiffs are not.

       37.      Customers, consumers, industry personnel and the general public using internet

search engines looking to find the website www.hq.com, or searching for information regarding

Plaintiffs’ goods and services, are likely to be confused or misdirected to the Defendant

WeWork’s website www.wework.com/plans/private-office/hq-by-wework, and are likely to

mistakenly believe that Plaintiffs are affiliated with, sponsor or are otherwise associated with

Defendant WeWork when Plaintiffs are not.

       38.      Indeed, although HQ by WeWork was only announced approximately a month

ago, upon information and belief, some reporters have already begun to drop the “by WeWork”

language and refer to the WeWork product as exclusively HQ, further increasing the likelihood

of confusion.

       39.      Upon information and belief, Defendant’s acts are willful with the deliberate

intent to trade on the goodwill of RGN’s HQ Mark, and cause confusion and deception in the

marketplace of Plaintiffs’ goods and services to the Defendant.

       40.      Defendant has caused and, unless restrained and enjoined by this Court, will

continue to cause irreparable harm to RGN and to its valuable reputation and goodwill with the

consuming public for which Plaintiffs have no adequate remedy at law.




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                                 FIRST CLAIM FOR RELIEF:
                                Federal Trademark Infringement

       41.      Plaintiff RGN realleges and incorporates by reference each of the allegations

contained in the preceding paragraphs of this Complaint, as if fully set forth herein.

       42.      Defendant’s unauthorized use in commerce of the mark HQ, including without

limitation as part of the mark HQ by WeWork, as described herein is likely to cause confusion,

mistake or deception and constitutes trademark infringement in violation of Section 32(1) of the

Lanham Act, 15 U.S.C. § 1114(1).

       43.      Upon information and belief, Defendant has committed the foregoing acts of

infringement with full knowledge of RGN’s prior rights in the HQ Mark and with the willful

intent to cause confusion and trade on RGN’s goodwill.

       44.      Defendant’s conduct is causing immediate and irreparable harm and injury to

RGN, and to its goodwill and reputation, and will continue to both damage RGN and confuse the

public unless enjoined by this court. RGN has no adequate remedy at law.

       45.      RGN is entitled to, among other relief, injunctive relief and an award of actual

damages, Defendant’s profits, enhanced damages and profits, reasonable attorneys’ fees and

costs of the action under Sections 34 and 35 of the Lanham Act, 15 U.S.C. §§ 1116, 1117,

together with prejudgment and post-judgment interest.

                             SECOND CLAIM FOR RELIEF:
                 Federal Unfair Competition and False Designation of Origin

       46.      Plaintiffs RGN and Regus Management reallege and incorporate by reference

each of the allegations contained in the preceding paragraphs of this Complaint, as if fully set

forth herein.




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       47.       Defendant’s unauthorized use in commerce of the mark HQ, including without

limitation as part of the mark HQ by WeWork, as alleged herein constitutes use of a false

designation of origin and misleading description and representation of fact.

       48.       Upon information and belief, Defendant’s conduct as alleged herein is willful and

is intended to and is likely to cause confusion, mistake or deception as to the affiliation,

connection or association of Defendant with Plaintiffs.

       49.       Upon information and belief, Defendant’s conduct as alleged herein is intended to

and is likely to cause confusion, mistake or deception as to the origin, source, sponsorship, or

affiliation of the Defendant’s HQ by WeWork product, its website, and associated services.

       50.       Defendant’s conduct as alleged herein constitutes unfair competition in violation

of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

       51.       Defendant’s conduct as alleged herein is causing immediate and irreparable harm

and injury to Plaintiffs, and to their goodwill and reputations, and will continue to both damage

Plaintiffs and confuse the public unless enjoined by this court. Plaintiffs have no adequate

remedy at law.

       52.       Plaintiffs are entitled to, among other relief, injunctive relief and an award of

actual damages, Defendant’s profits, enhanced damages and profits, reasonable attorneys’ fees

and costs of the action under Sections 34 and 35 of the Lanham Act, 15 U.S.C. §§ 1116, 1117,

together with prejudgment and post-judgment interest.

                               THIRD CLAIM FOR RELIEF:
                 Texas Anti-Dilution Statute – Tex. Bus. & Com. Code § 16.103

       53.       Plaintiff RGN realleges and incorporates by reference each of the allegations

contained in the preceding paragraphs of this Complaint, as if fully set forth herein.




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       54.     The HQ Mark has been in use for over thirty-eight years and has achieved public

recognition and strong brand awareness.

       55.     Through prominent, long, and continuous use in commerce, including commerce

within the State of Texas, the HQ Mark has become and continues to be famous and distinctive

throughout the State of Texas.

       56.     Defendant’s use of the mark HQ, including without limitation as part of the mark

HQ by WeWork, began after the HQ Mark became famous and distinctive.

       57.     Defendant’s unauthorized use is likely to dilute the distinctive quality of the HQ

Mark and to decrease the capacity of that mark to identify and distinguish the goods and services

associated with the HQ Mark, and is likely to cause harm to RGN’s business reputation.

       58.     Defendant’s unauthorized use constitutes trademark dilution in violation of the

Texas Anti-Dilution Statute, Tex. Bus. & Com. Code § 16.103.

       59.     Upon information and belief, Defendant has committed the foregoing acts of

infringement with full knowledge of RGN’s prior rights in the HQ Mark and with the willful

intent to deceive and mislead the public and cause harm to RGN.

       60.     As a result of Defendant’s unlawful acts, RGN has suffered and will continue to

suffer damages in an amount that is not presently ascertainable, but will be established at trial.

       61.     Unless enjoined by this Court, the acts of Defendant complained of herein will

cause RGN to suffer irreparable harm for which there is no adequate remedy at law.

                            FOURTH CLAIM FOR RELIEF:
                       Trademark Infringement – Texas Common Law

       62.     Plaintiff RGN realleges and incorporates by reference each of the allegations

contained in the preceding paragraphs of this Complaint, as if fully set forth herein.




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        63.     Use of the HQ Mark by RGN or its predecessors in interest predates any alleged

use by Defendant.

        64.     Defendant’s conduct as alleged herein constitutes trademark infringement in

violation of common law.

        65.     Upon information and belief, Defendant’s conduct as alleged herein is willful and

is intended to and is likely to cause confusion, mistake or deception as to the affiliation,

connection or association of Defendant with RGN.

        66.     As a result of Defendant’s unlawful acts, RGN has suffered and will continue to

suffer damages in an amount that is not presently ascertainable, but will be established at trial.

        67.     Unless enjoined by this Court, the acts of Defendant complained of herein will

cause RGN to suffer irreparable harm for which there is no adequate remedy at law.

                                FIFTH CLAIM FOR RELIEF:
                           Unfair Competition – Texas Common Law

        68.     Plaintiffs RGN and Regus Management reallege and incorporate by reference

each of the allegations contained in the preceding paragraphs of this Complaint, as if fully set

forth herein.

        69.     Defendant’s conduct as alleged herein constitutes unfair competition in violation

of common law.

        70.     Upon information and belief, Defendant’s conduct as alleged herein is willful and

is intended to and is likely to cause confusion, mistake or deception as to the affiliation,

connection or association of Defendant with Plaintiffs.

        71.     As a result of Defendant’s unlawful acts, Plaintiffs have suffered and will

continue to suffer damages in an amount that is not presently ascertainable, but will be

established at trial.



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                                 SIXTH CLAIM FOR RELIEF:
             Tortious Interference with Prospective Relations – Texas Common Law

        72.     Plaintiff Regus Management realleges and incorporates by reference each of the

allegations contained in the preceding paragraphs of this Complaint, as if fully set forth herein.

        73.     Regus Management had and continues to have prospective business relations with

prospective customers who seek out its office rentals and associated goods and services (“Third-

party Customers”).

        74.     A reasonable probability existed and/or exists that Regus Management would

have entered into a business relationship with the Third-party Customers. These Third-party

Customers likely have searched and/or continue to search business directories, the internet, and

like sources for HQ in search of Regus Management’s office rentals but inadvertently land upon

Defendant’s website due to Defendant’s unauthorized use of the HQ Mark.

        75.     Upon information and belief, Defendant has in the past and continues to

intentionally interfere with Regus Management’s relationship with the Third-party Customers

through Defendant’s use of the name and mark HQ, including without limitation as part of the

mark HQ by WeWork, with a conscious desire to prevent Regus Management from entering into

a relationship with Third-party Customers, and/or Defendant knew that its interference was

certain or substantially certain to occur as a result of its conduct.

        76.     Defendant’s interference proximately caused damages to Regus Management in

the form of lost profits, resulting in actual damages.

        77.     Accordingly, Regus Management hereby sues Defendant for tortious interference

with prospective relations and seeks a judgment in excess of the minimum jurisdictional limits of

the Court.




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       78.     Upon information and belief, because Defendant’s tortious actions were

committed with a specific intent to cause substantial injury or harm to Regus Management, its

actions constitute malice, and Regus Management hereby seeks exemplary damages related to

tortious interference with prospective relations.

                             V.         DEMAND FOR JURY TRIAL

       79.     Plaintiffs demand a jury trial pursuant to Federal Rule of Civil Procedure 38.

                                  VI.     REQUESTED RELIEF

       WHEREFORE, Plaintiffs request judgment against Defendant as follows:

       1.      That Defendant has violated Section 32 of the Lanham Act (15 U.S.C. § 1114)

               and Section 43(a) of the Lanham Act (15 U.S.C. § 1125(a)).

       2.      That Defendant has violated Tex. Bus. & Com. Code § 16.103 and Texas

               common law.

       3.      That Defendant has tortiously interfered with the prospective relations between

               Regus Management and its prospective customers.

       4.      Granting an injunction preliminarily and permanently enjoining the Defendant, its

               employees, agents, officers, directors, attorneys, successors, affiliates, subsidiaries

               and assigns, and all of those in active concert and participation with any of the

               foregoing persons or entities who receive actual notice of the Court’s order by

               personal service or otherwise from:

               a.      selling, marketing, advertising, promoting or authorizing any third party to

                       sell, market, advertise or promote office space rental and associated

                       services or real estate services bearing the mark HQ, including without

                       limitation as part of the mark HQ by WeWork, or any other mark that is a




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              counterfeit, copy, simulation, confusingly similar variation or colorable

              imitation of RGN’s HQ Mark;

        b.    engaging in any activity that infringes RGN’s rights in the HQ Mark;

        c.    engaging in any activity constituting unfair competition with Plaintiffs;

        d.    making or displaying any statement, representation or depiction that is

              likely to lead the public or the trade to believe that (i) Defendant’s office

              space rental services are in any manner approved, endorsed, licensed,

              sponsored, authorized or franchised by or associated, affiliated or

              otherwise connected with Plaintiffs or (ii) Plaintiffs’ office space rentals or

              associated services are in any manner approved, endorsed, licensed,

              sponsored, authorized or franchised by or associated, affiliated or

              otherwise connected with Defendant;

        e.    using or authorizing any third party to use in connection with any

              business, goods or services any false description, false representation, or

              false designation of origin, or any marks, names, words, symbols, devices

              or trade dress that falsely associate such business, goods and services with

              Plaintiffs or tend to do so;

        f.    registering or applying to register any trademark, service mark, domain

              name, trade name, doing business as or other source identifier or symbol

              of origin consisting of or incorporating the mark HQ, including without

              limitation as part of the mark HQ by WeWork, or any other mark that

              infringes or is likely to be confused with RGN’s HQ Mark, or any goods

              or services of Plaintiffs, or Plaintiffs as their source; and




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        g.     aiding, assisting or abetting any other individual or entity in doing any act

               prohibited by sub-paragraphs (a) through (f).

  5.    Granting such other and further relief as the Court may deem proper to prevent

        the public and trade from deriving the false impression that any goods or services

        manufactured, sold, distributed, licensed, marketed, advertised, promoted or

        otherwise offered or circulated by Defendant are in any way approved, endorsed,

        licensed, sponsored, authorized or franchised by or associated, affiliated or

        otherwise connected with Plaintiffs or constitute or are connected with Plaintiffs’

        office space rentals and associated services.

  6.    Directing Defendant to immediately cease all display, distribution, marketing,

        advertising, promotion, sale, offer for sale and/or use of any and all

        advertisements, domain names, websites, social media pages, and other materials

        that feature or bear any designation or mark incorporating the mark HQ, including

        without limitation as part of the mark HQ by WeWork, or any other mark that is a

        counterfeit, copy, simulation, confusingly similar variation, or colorable imitation

        of RGN’s HQ Mark, and to direct all agents and other individuals and

        establishments wherever located in the United States that distribute, advertise,

        promote, sell or offer for sale Defendant’s goods or services to cease forthwith the

        display, distribution, marketing, advertising, promotion, sale and/or offering for

        sale of any and all advertisements, and other materials featuring or bearing the

        mark HQ, including without limitation as part of the mark HQ by WeWork, or

        any other mark that is a counterfeit, copy, simulation, confusingly similar




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        variation, or colorable imitation of RGN’s HQ Mark, and to immediately remove

        them from public access and view.

  7.    Directing that Defendant recall and deliver up for destruction or other disposition

        all advertisements, promotions, signs, displays, domain names and related

        materials incorporating or bearing the mark HQ, including without limitation as

        part of the mark HQ by WeWork, or any other mark that is a counterfeit, copy,

        confusingly similar variation or colorable imitation of RGN’s HQ Mark.

  8.    Directing, pursuant to Section 35(a) of the Lanham Act (15 U.S.C. § 1116(a)),

        Defendant to file with the Court and serve upon Plaintiffs’ counsel within thirty

        (30) days after service on Defendant of an injunction in this action, or such

        extended period as the Court may direct, a report in writing under oath, setting

        forth in detail the manner and form in which Defendant has complied therewith.

  9.    Awarding Plaintiff RGN an amount up to three times the amount of its actual

        damages, in accordance with Section 35(a) of the Lanham Act (15 U.S.C. §

        1117(a)).

  10.   Directing that Defendant accounts to and pays over to Plaintiff RGN all profits

        realized by its wrongful acts in accordance with Section 35(a) of the Lanham Act

        (15 U.S.C. § 1117(a)) enhanced as appropriate to compensate RGN for the

        damages caused thereby.

  11.   Awarding RGN punitive and exemplary damages as the Court finds appropriate to

        deter any future willful infringement.




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  12.   Declaring that this is an exceptional case pursuant to Section 35(a) of the Lanham

        Act and awarding RGN its costs and reasonable attorneys’ fees thereunder (15

        U.S.C. § 1117(a)).

  13.   Awarding RGN interest, including prejudgment and post-judgment interest, on

        the foregoing sums.

  14.   Awarding such other and further relief as the Court deems just and proper.

                                      Respectfully submitted,


                                              /s/ Yvette Ostolaza
                                      Yvette Ostolaza
                                      State Bar No. 00784703
                                      yvette.ostolaza@sidley.com
                                      Paige Holden Montgomery
                                      State Bar No. 24037131
                                      pmontgomery@sidley.com
                                      Mitchell Brant Feinberg
                                      State Bar No. 24105852
                                      mitchell.feinberg@sidley.com
                                      SIDLEY AUSTIN LLP
                                      2021 McKinney Ave, Suite 2000
                                      Dallas, Texas 75201
                                      (214) 981-3300 (Telephone)
                                      (214) 981-3400 (Facsimile)

                                      ATTORNEYS FOR RGN-US IP, LLC AND REGUS
                                      MANAGEMENT GROUP, LLC




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